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_________________________________________________________________________________

                                                         SO ORDERED,



                                                         Judge Jason D. Woodard
                                                         United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________

                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

 IN THE MATTER OF:                                                      CHAPTER 13 NO.:

 WAYMOND NOLEN                                                          13-15235-JDW
 SANDRA D. NOLEN

                         ORDER DEEMING SECTION 1322(b)(5)
                     CLAIM CURRENT AND DEFAULTS ARE CURED

        THIS MATTER came before the Court on Trustee’s Motion to Deem Section

1322(b)(5) Claim Current and Defaults Cured after notice and an opportunity for

response or objection. The Court finding that no timely responses or objections have

been filed and that the Trustee’s motion is well taken and should be granted.

        IT IS THEREFORE ORDERED AND ADJUDGED, that Trustee’s Motion to

Deem Section 1322(b)(5) Claim Current and Defaults Cured shall be and is hereby

granted.

        IT IS FURTHER ORDERED, that the section 1322(b)(5) claim of Citibank,

N.A. as trustee for CMLTI Asset Trust (Clm. #13) shall be and is hereby deemed

contractually current through January 2019 with all pre-petition defaults cured from

disbursements made by the Trustee.



* Amended response date from February 21, 2018, to February 21, 2019.
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        IT IS FURTHER ORDERED, that any post-petition mortgage fees, expenses,

or charges which were not evidenced by a timely filed Notice of Postpetition Mortgage

Fees, Expenses, and Charges, shall be and are hereby disallowed, dischargeable, and

may not be collected by the Creditor.

                                        ##END OF ORDER##



SUBMITTED BY:

/s/ W. Jeffrey Collier
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* Amended response date from February 21, 2018, to February 21, 2019.
